         Case 3:11-cr-02309-DMS                  Document 52          Filed 08/01/14          PageID.140         Page 1 of 2

AO 245B (CASDRev. 08113) Judgment in a Criminal Case for Revocations


                                     UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRlCT OF CALIFOR.1\TIA                                   -I PI! 2: 29
              UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)'
                                V.                                   (For Offenses Committed On or After November 1, 1987)        -t'uJ"
                                                                                                                                OrYUT v
                JOSSE ALEJANDRO LOPEZ
                                                                          Case Number:      11 CR2309-DMS

                                                                     Julie A Blair CJA
                                                                     Defendant's Attorney
REGISTRATION NO.                 17524298
D­
IZI   admitted guilt to violation of allegation(s) No.      3
                                                           -------------------------------------------------
D was found guilty in violation of allegation(s) No.                                                  after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                    Nature of Violation
            3                        nv7, Failure to report as directed




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                      August 1. 2014
                                                                      ~teof;S;;S~

                                                                      HON.~aw
                                                                      UNITED STATES DISTRICT JUDGE




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        Case 3:11-cr-02309-DMS            Document 52         Filed 08/01/14       PageID.141        Page 2 of 2

AO 245B (CASD Rev. 08/l3) Judgment in a Criminal Case for Revocations

DEFENDANT:               JOSSE ALEJANDRO LOPEZ                                                    Judgment - Page 2 of 2.
CASE NUMBER:             11 CR2309-DMS

                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
FIVE (5) MONTHS, consecutive to any State of Califomi a case.




D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
D     The court makes the following recommendations to the Bureau of Prisons:




D     The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district:
      D     at                             AM.                on
      D     as notified by the United States Marshal.
                                                                   ------------------------------------
      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
      Prisons:
       D    on or before
       D    as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to
                                -------------------------                     ------------------------------
 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL



                                                                                                        11 CR2309-DMS
